Case 1:10-cv-06950-AT-RWL Document 1157-2 Filed 01/07/21 Page 1 of 6




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     Case 1:10-cv-06950-AT-RWL Document 1157-2 Filed 01/07/21 Page 2 of 6
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1                          UNITED STATES DISTRICT COURT
2                        SOUTHERN DISTRICT OF NEW YORK
3                             NO. 10-cv-6950-AT-RWL
4     X-------------------------------X
5     H. CHRISTINA CHEN-OSTER,                      :
6     SHANNA ORLICH; ALLISON GAMBA;                 :      CIVIL ACTION
7     and MARY DE LUI                               :      DEPOSITION OF:
8                   Plaintiffs,                     :      LLOYD BLANKFEIN
9       vs.                                         :
10    GOLDMAN SACHS & CO. and THE                   :
11    GOLDMAN SACHS GROUP, INC.,                    :
12                  Defendants.                     :
13    X-------------------------------X
14
15              C O M P U T E R I Z E D             T R A N S C R I P T
16    of the stenographic notes of the proceedings in the
17    above-entitled matter as taken by and before Rosalie A.
18    Kramm, Certified Shorthand Reporter No. 5469, Certified
19    Realtime Reporter, taken remotely on November 16, 2020,
20    commencing at 12:41 p.m.
21
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24    Job No. 4340344
25    Pages 1-167

                                                                     Page 1

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                                                                  Page 2

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1     questions on where we stand versus peers who have made        14:44:12

2     numerical statements on this topic, we are prepared to        14:44:17

3     say we have conducted an analysis that shows women at the     14:44:20

4     firm on average make 99 percent of what men earn.      The    14:44:25

5     underlying issue is underrepresentation of women at more      14:44:32

6     senior levels."                                               14:44:35

7                 Do you see that?                                  14:44:36

8           A.    Yes.                                              14:44:37

9           Q.    What can you tell us about the analysis showing   14:44:38

10    that on average women make 99 percent of what -- or made      14:44:40

11    99 percent of what men earned at Goldman Sachs?               14:44:44

12                MR. GIUFFRA:   Lloyd, I would instruct you not    14:44:49

13    to disclose any privileged communications with anyone you     14:44:51

14    had about that analysis.                                      14:44:54

15                THE WITNESS:   Okay.   I'm not sure I get the     14:44:56

16    question.    I'm sorry.                                       14:44:58

17    BY MR. GLACKIN:                                               14:44:59

18          Q.    So this sentence references an analysis showing   14:45:01

19    that women at the firm on average make 99 percent of what     14:45:05

20    men earn.    What do you know about that analysis?            14:45:08

21                And if you can only answer the question by        14:45:12

22    revealing privileged information, you should let us know      14:45:13

23    that that's the only way you could answer it, and we'll       14:45:16

24    proceed from there.                                           14:45:19

25                But if you can answer based on knowledge you      14:45:21

                                                                    Page 83

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1     had at the time that is not privileged, or knowledge             14:45:22

2     acquired later that is not privileged, you should let us         14:45:25

3     know, or you should answer the question.                         14:45:29

4           A.     I -- I took the assertion as -- as -- at face       14:45:31

5     value.     I take it now at face value.                          14:45:36

6           Q.     So nobody ever explained to you what that           14:45:39

7     analysis was?                                                    14:45:41

8                  MR. GIUFFRA:   Objection to form.                   14:45:42

9                  THE WITNESS:   Well, there I might have             14:45:43

10    gotten -- if I had gotten an explanation -- any                  14:45:44

11    explanation I had would have come from -- would have come        14:45:47

12    from a privileged side.                                          14:45:52

13    BY MR. GLACKIN:                                                  14:45:53

14          Q.     So it would have come from -- by an attorney?       14:45:56

15    Is that what you are saying?                                     14:46:00

16          A.     Yes.                                                14:46:03

17          Q.     And you -- do you mean an attorney in 2018 or       14:46:04

18    an attorney like Mr. Giuffra in preparation for this             14:46:08

19    deposition?                                                      14:46:12

20          A.     I -- I don't recall.    I'm only referring to the   14:46:14

21    origin, 2018.                                                    14:46:17

22          Q.     Okay.   So you're saying that any explanation       14:46:21

23    you had about this would have come from counsel in 2018,         14:46:23

24    such as, for example, possibly the employment law group?         14:46:26

25    Is that what you're saying?                                      14:46:29

                                                                       Page 84

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1            A.    Possibly, yes.                                      14:46:31

2            Q.    You wouldn't have received it -- you wouldn't       14:46:32

3     have received any explanation about this from Human              14:46:34

4     Capital Management?                                              14:46:37

5            A.    I think the nature of what I'm asserting is         14:46:40

6     that my recollection involves communication from what            14:46:42

7     would be a privileged source.                                    14:46:47

8            Q.    Okay.   So you have a -- your only recollection     14:46:49

9     about what this analysis was is something that you               14:46:53

10    received from a privileged source.                               14:46:56

11           A.    My -- the -- the original question that you         14:47:01

12    asked in terms of investigation and the sourcing of it,          14:47:04

13    the answer is yes.                                               14:47:07

14           Q.    Okay.   Can you tell us -- can you tell us what     14:47:09

15    the source was, the specific name of the attorney or             14:47:12

16    inside versus outside counsel?                                   14:47:15

17           A.    My guess that's part of the whole privilege         14:47:19

18    thing, but, you know -- other people can advise me               14:47:21

19    otherwise.                                                       14:47:24

20                 MR. GLACKIN:     Well, Mr. Giuffra will advise      14:47:25

21    you.                                                             14:47:27

22                 MR. GIUFFRA:     If you can remember the name of    14:47:28

23    the human being who might have spoken to you, you can            14:47:29

24    give the name of the person.         If you can't remember the   14:47:31

25    name of the human being, say you can't remember the name         14:47:33

                                                                       Page 85

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